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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 HUDA FAKHREDDINE, TROUT POWELL,                    :     Docket No. 224-CV-01034
 and PENN FACULTY FOR JUSTICE IN                    :
 PALESTINE,                                         :
                                                    :     Honorable Mitchell S. Goldberg, Chief Judge
                         PLAINTIFFS,                :
                                                    :
                   v.                               :                    NOTICE OF APPEAL
                                                    :                     IN A CIVIL CASE
 THE UNIVERSITY OF PENNSYLVANIA,                    :
                                                    :
                         DEFENDANT.                 :
                                                    :
                                                    :


         Notice is hereby given that Plaintiffs Huda Fakhreddine, Trout Powell, and Penn Faculty For

Justice In Palestine in the above-captioned case hereby appeal to the United States Court of Appeals

for the Third Circuit from the Order dated and entered on June 24, 2024, and Memorandum dated

and entered on June 24, 2024, granting Defendant’s Motion to Dismiss.


Dated:          June 24, 2024                           Respectfully Submitted,



                                                        ____________________________________
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